                 Case 22-10294-pmm                       Doc          Filed 04/15/25 Entered 04/15/25 15:03:24                                    Desc Main
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 .Fill in this information to identify the case:
     Debtor1                   Helen Baron

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the : Eastern District of Pennsylvania
                                                                    (State)
     Case number 22-10294-pmm


Form 4100R
Response to Notice of Final Cure                                                                      10/15
___________________________________________________________________________________________________________
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:               Mortgage Information


     Name of creditor: U.S. BANK TRUST NATIONAL ASSOCIATION,                                                                            Court claim no. (if known): 8-1
     NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS OWNER
     TRUSTEE FOR RCF 2 ACQUISITION TRUST
     Last 4 digits of any number you use to identify the debtor’s account:           4001

     Property address:                 6107 GLEN ROAD
                                       Number         Street
                                       READING, PA 19606
                                       City     State              ZIP Code
 Part 2:               Prepetition Default Payments

 Check one:

     [ ]          Creditor agrees that the debtor(s) have paid in full amount required to cure the prepetition default on the creditor’s claim

     [X]          Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the creditor’s
                  claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this response is:
                                                                                                                                                   $80,475.94
 .


 Part 3:               Postpetition Mortgage

 Check one:

     [ ]          Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
                  Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                  The next postpetition payment from the debtor(s) is due on:                   ____/____/______
                                                                                                MM/DD/YYYY

     [X]          Creditor states that the debtors are not current on all postpetition payments consistent with § 1322 (b)(5) of the
                  Bankruptcy Code, including all fees charges expenses, escrow, and costs.

                  Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                  a. Total postpetition ongoing payments due:                                                                                       (a) $8,106.72
                  b. Total fees, charges, expenses, escrow and costs outstanding:                                                                  + (b) $550.00
                  c. Total suspense:                                                                                                               - (c) $716.83
                  d. Total. Subtract line c from the sum of lines a and b.
                                                                                                                                                    (d) $7,939.89
                  Creditor asserts that the debtor(s) are contractually
                  obligated for the postpetition payment(s) that first became
                  due on:                                                                       11 / 01 / 2024
                                                                                                MM/ DD/ YYYY




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Debtor 1       Helen Baron                                              Document Case Page 2 of
                                                                                        number      5
                                                                                               (if known) 22-10294-pmm
               First Name         Middle Name             Last Name




Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part
3 that the debtor(s) are not current with all postpetition payments, including all fees, charges
expenses, escrow, and costs, the creditor must attach an itemized payment history disclosing the
following amounts from the date of the bankruptcy filing through the date of this response:

[X] all payments received;
[X] all fees, costs, escrow, and expenses assessed to the mortgage; and
[X] all amounts the creditor contends remain unpaid


Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s proof
of claim

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct to
the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from
the notice address listed on the proof of claim to which this response applies.

               X      /s/ Shellie A. Labell                                                         Date 04/14/2025
                      Signature



 Print                Shellie A. Labell                                                             Title Authorized Agent
                      First Name                      Middle Name          Last Name


 Company              Robertson, Anschutz, Schneid, Crane & Partners, PLLC

If different from the notice address listed on the proof of claim to which this response applies:



 Address              130 Clinton Rd., #202
                      Number                Street


                      Fairfield                      NJ                    07004
                      City                           State               ZIP Code


 Contact              470-321-7112                                                                                 Email slabell@raslg.com




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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on             April 15, 2025    , I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, and a true and correct copy has been served via
United States Mail to the following:

Helen Baron
6107 Glen Rd.
Reading, PA 19606

And via electronic mail to:

BRENNA HOPE MENDELSOHN
Mendelsohn & Mendelsohn, PC
637 Walnut Street
Reading, PA 19601

SCOTT F. WATERMAN
Chapter 13 Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107

                                                     By: /s/ Dena Eaves
                                                     Dena Eaves
                                                     deaves@raslg.com




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